                   Case 1:06-cr-00031-RHB
  AO 472 Order of Detention Pending Trial
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                        WESTERN DISTRICT OF MICHIGAN
  UNITED STATES OF AMERICA             ORDER OF DETENTION
          V.                           PENDING TRIAL
  JAMES CARNELL PEOPLES                                                                     Case Number:         1:06-CR-31

         In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
  require the detention of the defendant pending trial in this case.
                                                                Part I - Findings of Fact
            (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                     offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                     existed) that is
                           a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                           an offense for which the maximum sentence is life imprisonment or death.
                           an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                            a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                            U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
           (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                    offense.
           (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                    the offense described in finding (1).
           (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                    assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                    presumption.
                                                                  Alternate Findings (A)
           (1)      There is probable cause to believe that the defendant has committed an offense
                           for which a maximum term of imprisonment of ten years or more is prescribed in
                           under 18 U.S.C.§924(c).
           (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                    reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                  Alternate Findings (B)
           (1)      There is a serious risk that the defendant will not appear.
  ✘        (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                    A Grand Rapids Police Department detective testified that the investigation of a series of "takeover" armed robberies of
                    grocery stores focused on defendant, who had an armed robbery conviction. Defendant knew and identified other robbers,
                    but denied own participation. Defendant acknowledges getting into car with others to commit another robbery, but then,
                    according to defendant, he changed his mind because he "wasn't feeling it that night." Defendant knew guns in car. Since
                    robbers arrested, robberies have ceased. Fingerprints probably on a gun.


                                        Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
no condition or combination of conditions will assure the safety of the community, since defendant appears to be intimately
connected to, if not a part of, an active and brutal gang of serial armed robbers.


                                                   Part III - Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
States marshal for the purpose of an appearance in connection with a court proceeding.


  Dated:         March 14, 2006                                                              /s/ Hugh W. Brenneman, Jr.
                                                                                                                     Signature of Judicial Officer
                                                                                           Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                  Name and Title of Judicial Officer

       *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
 (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
